Case 3:16-cv-00338-DLH-ARS Document 1 Filed 09/21/16 Page 1 of 4

THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NORTH DAKOTA
Northeastern Division—Grand Forks

 

PADRAIC A. POWER,

Plaintiff, Pro Se,

Case Number: 4 f ls -Cv- 338

UNIVERSITY OF NORTH DAKOTA SCHOOL OF
LAW: Kathryn R. L. Rand, Dean, (Official Capacity);
Bradley Myers, Associate Dean, (Official Capacity);
Admissions Committee, Undisclosed Members,
(Official Capacities);

And

NORTH DAKOTA STATE BOARD OF HIGHER
EDUCATION: KathleenNeset,Chair (Official
Capacity); DonMorton, Vice Chair, (Official
Capacity);KariReichert, Board Member, (Official
Capacity); Kevin Melicher, BoardMember,(Official
Capacity); Mike Ness,BoardMember, (Official
Capacity); MikeHacker,Board Member, (Official
Capacity); GregStemen,Board Member, (Official
Capacity);NickEvans, Student BoardMember,(Official
Capacity); Andy Wakeford, Staff Adviser, (Official
Capacity); Prof.ErnstPijning, Faculty

Adviser, (OfficialCapacity).

Defendants.

Nowe Nome” mee Se” See” Nome” me Nee me Nee ema Naeeee oee g eeeee” Sree” Nee ge nee” nee See” See ree Nee Neue ee” ee ee” ee”

 

INTRODUCTION

Padraic A. Power, herein after plaintiff, files this action under the American With Disabilities
Act of 1990, Title II, as amended (“Title IP” and “ADA”), 42 U.S.C. §§12131-12134, and its
implementing regulations 28 C.F.R. Part 35, as amended, after having been denied admission to
the University of North Dakota School of Law, herein after defendant, two times starting in the
summer of 2015.

JURISDICTION AND VENUE

1
Case 3:16-cv-00338-DLH-ARS Document 1 Filed 09/21/16 Page 2 of 4

This court has jurisdiction under 28 U.S.C. §§ 1331 and 1345, and 42 U.S.C. §12133.

This Court has the authority to grant the relief sought under 42 U.S.C. §12133, and 28
U.S.C. §§2201 and 2202

Venue is proper in the Court pursuant to 28 U.S.C. §1391 because a substantial portion
of the events giving rise to this cause of action took place within this district, and because the
University of North Dakota School of Law’s principal place of business is located in it.

PARTIES

Defendant North Dakota State Board of Higher Education (SBHE) governs and controls
the actions and sets the policies of the University of North Dakota School of Law, herein after
UNDL. As an instrument of service of the State of North Dakota, the University of North Dakota
School of Law is a public entity pursuant to 42 U.S.C. § 12131(1)(B) and 28 CFR. § 35.104,
with its main campus located in the City of Grandforks in Grandforks County, North Dakota.

Padraic A. Power, a resident of North Dakota, is the plaintiff.
FACTS

Padraic A. Power, hereinafter plaintiff, began communicating with various staff at the
UNDL, hereafter defendant, mostly, but not limited to, the Admissions Office staff in early Sept
2014. He informed the staff of his prior law school experiences and asked what he need to do to
gain admission, eg. LSAT score ranges for admission, GPA, letters of recommendation, ect.

During discussions, the plaintiff was informed his prior Law School Admissions Test,
hereafter LSAT, scores were too old despite having scored a significantly higher score than the
published school average. No exceptions on the test date requirement would be granted, he was
told.

Finally, in June of 2015, the plaintiff began in earnest the process of applying for a seat
in the Fall 2015 because the admissions office staff informed him that seats were indeed still
available and all that was necessary was a fresh LSAT score within their range. Based upon this
and other positive encouragement, the plaintiff booked a seat in the only region still offering the
LSAT—Asia, specifically Tokyo, Japan.

Taking time off from work, the plaintiff flew to Tokyo took the test and returned to the
US in one weekend at great expense and effort.

Scores were released by the Law School Admissions Council, hereafter LSAC, in July
2015, and the plaintiff's completed admissions file was then submitted to the admissions
committee.
Case 3:16-cv-00338-DLH-ARS Document 1 Filed 09/21/16 Page 3 of 4

Plaintiff scored a 153, a significantly higher score than the defendant’s published
average; so much higher LSAC predicted his odds of admission at 100%.

As part of the defendant’s application, the plaintiff was required to discuss his previous
law school experiences at length. He had matriculated to two other law schools prior to 2004 and
withdrew from both of them before earning any grades, leaving without incident or blemish. It
was in this portion of the admissions application that he divulged his mental health condition,
explaining his withdrawals in good faith and detail as requested.

In August 2015, the plaintiff was denied admission. He contacted the school and was
told by the head of the admissions office that he was denied because his personal essay was too
short. The admissions head even offered to proof read his next attempt.

Not satisfied with this answer, the plaintiff called Dean Kathryn R. L. Rand. While on
the phone, Dean Rand perused the plaintiff's application, stating that his grades and LSAT were
good, but then she fell silent and in a curt and abrupt manner, said that he should go to another
law school and quickly got off the phone.

Undaunted, the plaintiff redid his essay, lengthening it to twenty pages or so, submitting
it to the head of the defendant’s Admissions Office for the review he offered. Upon hearing no
reply, he resubmitted his application in December 2015 for the fall of 2016.

He was rejected again Feburary 2016.

He then filed a complaint with U.S. Department of Education Civil Rights Division. The
investigation, initiated in March of 2016, is still ongoing.

PRAYER FOR RELIEF
Wherefore, Padraic A. Power prays that the Court:

(1) Grants judgment in favor of the plaintiff and declares that University of North
Dakota School of Law violated Title II of the ADA, 42 U.S.C. §§ 12131-12134 and
its implementing regulation at 28 C.F.R. Part 35.

(2) Enjoins University of North Dakota School of Law, its officers, agents, employees,
and all other persons and entities in active concert and participation with it from
denying individuals with disabilities equal participation in and equal opportunity to
benefit from its services, programs, and activities, or otherwise subjecting
individuals with disabilities to discrimination.

(3) Awards compensatory damages in an appropriate amount to be determined at trial.

(4) Seeing that success here will imperil the plaintiff's academic future at the school,
seeks damages that would at minimum freeze his educational costs to the
defendant’s prices while he attends any other institution that accepts him.
Case 3:16-cv-00338-DLH-ARS Document 1 Filed 09/21/16 Page 4 of 4

Dated: September 21, 2016

Respectfully submitted,

 

 

Padraic A. Power, 9 ~~
Plaintiff, Pro Se
